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 1   KEVIN R. STOLWORTHY, ESQ.
     Nevada Bar No. 2798
 2   CONOR P. FLYNN, ESQ.
     Nevada Bar No. 11569
 3   ARMSTRONG TEASDALE LLP
     3770 Howard Hughes Parkway, Suite 200
 4   Las Vegas, Nevada 89169
     Telephone: 702.678.5070
 5   Facsimile: 702.878.9995
     kstolworthy@armstrongteasdale.com
 6   cflynn@armstrongteasdale.com

 7   Attorneys for Defendant Terry J. Wolfe

 8

 9
                                  UNITED STATES DISTRICT COURT
10
                                        DISTRICT OF NEVADA
11

12   UNITED STATES OF AMERICA,                              CASE NO. 2:12-cr-00400-JAD-GWF

13                  Plaintiff,                              [PROPOSED]
                                                            ORDER GRANTING DEFENDANT
14
      vs.                                                   TERRY WOLFE’S MOTION FOR
15                                                          LEAVE TO FILE TO FILE
     TERRY J. WOLFE, et al.,                                SUPPLEMENTAL EXHIBITS TO
16                                                          [DOCKET #148] MOTION FOR A
                    Defendants.                             HEARING TO ADDRESS HIS
17                                                          MEDICAL TREATMENT AND
18                                                          ACCESS TO DISCOVERY AT
                                                            NEVADA SOUTHERN DETENTION
19                                                          CENTER UNDER SEAL

20
            Having come before the Court, it is ORDERED, ADJUDGED, and DECREED that
21
     Defendant Terry J. Wolfe’s Motion to file Supplemental Exhibits A-1, A-2, B, C, D-1, D-2, D-3, E-
22
     1, E-2, F, G-1, G-2, G-3, G-4, H-1, H-2, H-3 in support of his Motion for a Hearing to Address His
23
     Medical Treatment and Access to Discovery at Nevada Southern Detention Center (“NSDC”)
24
     [Docket #148] under seal with this Court is GRANTED.
25

26
                                                    UNITED
                                                    GEORGESTATES
                                                              FOLEY,DISTRICT
                                                                      JR.       JUDGE
27                                                  United States Magistrate Judge
28                                                  DATED: January 7, 2014

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